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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                         01/1Ϯ/2021
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IRENE TSEPENYUK
                                                Plaintiff,                        18-cv-7092 (GBD) (KHP)

                             -against-                                             ORDER SCHEDULING
                                                                                 DISCOVERY CONFERENCE
FRED ALGER & COMPANY, INC.,

                                                Defendant.

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KATHARINE H. PARKER, United States Magistrate Judge:

         The Court hereby orders a telephonic Discovery Conference for Tuesday, January 26,

2021 at 10:00 a.m. Counsel are directed to call Judge Parker’s Chamber conference line at the

scheduled time. Please dial 866-434-5269 and enter access code 4858267.

         SO ORDERED.

DATED:         January 12, 2021
               New York, New York


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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
